 Case 5:18-cv-00043-TJM-ML Document 37 Filed 02/26/20 Page 1 of 2


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF NEW YORK


JOHN NOAKES,
                                                 Civil Action No.
                        Plaintiff,               5:18-CV-43 (TJM/ML)

      v.

SYRACUSE UNIVERSITY,

                        Defendant.


           ORDER OF DISMISSAL BY REASON OF SETTLEMENT

      The Court has recently been informed by the parties that this case is

settled. Accordingly, pursuant to N.D.N.Y. L.R. 68.2(a), it is hereby

      ORDERED as follows:

      (1)    The above-captioned case is hereby dismissed and

discontinued in its entirety, without costs, and without prejudice to the right

of any party to reopen this action within one hundred and ninety (190)

days of the date of this Order if the settlement is not consummated.

      (2)    Any application to reopen this case must be filed within one

hundred and ninety (190) days of the date of this Order. An application to

reopen filed after the expiration of that one hundred and ninety (190) day

period, unless it is extended by the Court prior to its expiration, may be

summarily denied solely on the basis of untimeliness.
 Case 5:18-cv-00043-TJM-ML Document 37 Filed 02/26/20 Page 2 of 2


      (3)   If the parties wish for the Court to retain ancillary jurisdiction for

the purpose enforcing any settlement agreement, they must submit a

request that the Court retain jurisdiction over enforcement of the

agreement or submit the agreement to the Court for incorporation of its

terms into an Order retaining jurisdiction within the above-referenced one

hundred and ninety (190) day period for reopening the matter.

      (4)   The dismissal of the above-captioned action shall become with

prejudice on the one hundred and ninety-first (191st) day following the

date of this Order, unless any party moves to reopen this case within one

hundred and ninety (190) days of the date of this Order upon a showing

that the settlement was not consummated, or the Court extends the one

hundred and ninety (190) day period prior to its expiration.

      (5)   The Clerk of the Court is respectfully directed to close this

case and forward a copy of this Order to the parties pursuant to the

Court's local rules.



Dated:      February 26, 2020
            Binghamton, NY




                                        2
